                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )   No. 3:11-00012-8
v.                                            )   Judge Sharp
                                              )
GREGORY BROOKS                                )
                                              )


                                         ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 1507) to which the Government does not oppose.

       The motion is GRANTED and the sentencing set for May 17, 2013, is hereby rescheduled

for Monday, October 28, 2013, at 11:00 a.m.

       IT IS SO ORDERED.



                                                  ________________________________
                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




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